Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 1 of 29 PageID 188




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


UTILITIES MARKETING GROUP, LLC,
AGR FIELD SERVICES, LLC, and
ENERGY PROFESSIONALS, LLC,

               Plaintiffs,
v.                                                   Case No.: 8:15-cv-01966-RAL-TBM

JAMES WARRICK, ANGELA WARRICK,
GEORGE TAPIA, AMANDA TAPIA, EXCEL
NETWORK, LLC, EXCEL RESOURCES, LLC,
NWELITE MARKETING, LLC, and
UNKNOWN JOHN DOES,

            Defendants.
_________________________________________/

                    DEFENDANTS’ ANSWER AND COUNTERCLAIMS

       Defendants, James Warrick, Angela Warrick, George Tapia, Amanda Tapia, Excel

Network, LLC, Excel Resources, LLC, and NWElite Marketing, LLC (each a “Defendant” and

collectively, “Defendants”), file this Defendants’ Original Answer and Counterclaims.

              A. Admissions & Denials to Plaintiffs’ First Amended Complaint

       1.      Defendants deny the allegation that AGR Group, LLC “is the largest direct

marketer dedicated to the retail energy business,” but admit the remaining allegations in paragraph

1.

       2.      Defendants deny the allegations in paragraph 2.

       3.      Defendants deny the allegations in paragraph 3.

       4.      Defendants admit that “J. Warrick is a former employee of UMG,” but deny the

remaining allegations in paragraph 4.

       5.      Defendants deny the allegations in paragraph 5.
                                                          ______________________________________
                                                           DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                           Page 1
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 2 of 29 PageID 189




       6.      Defendants deny the allegations in paragraph 6.

       7.      Defendants deny the allegations in paragraph 7.

       8.      Defendants admit that Plaintiffs have brought this action, but deny the remaining

allegations in paragraph 8.

       9.      Paragraph 9 calls for a legal conclusion and therefore no response is required. To

the extent that a response is required, Defendants deny.

       10.     Paragraph 10 calls for a legal conclusion and therefore no response is required. To

the extent that a response is required, Defendants deny.

       11.     Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in paragraph 11.

       12.     Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in paragraph 12.

       13.     Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in paragraph 13.

       14.     Defendants admit the allegations in paragraph 14.

       15.     Defendants admit the allegations in paragraph 15.

       16.     Defendants admit that “G. Tapia is an individual who is a citizen of Florida,” but

deny the remaining allegations in paragraph 16.

       17.     Defendants admit that “A. Tapia is an individual who is a citizen of Florida,” but

deny the remaining allegations in paragraph 17.

       18.     Defendants admit the allegations in paragraph 18.

       19.     Defendants admit the allegations in paragraph 19.




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                                                            DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                            Page 2
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 3 of 29 PageID 190




       20.     Defendants admit that “NWElite is a Maryland limited liability company,” but

Defendants lack knowledge or information sufficient to form a belief about the truth of the

remaining allegations in paragraph 20.

       21.     Defendants deny the allegations in paragraph 21.

       22.     Defendants admit that this Court has personal jurisdiction over Defendants, but

deny the remaining allegations in paragraph 22.

       23.     Defendants admit that venue is proper in this Court, but deny the remaining

allegations in paragraph 23.

       24.     Defendants admit the allegations in paragraph 24.

       25.     Defendants admit that, while employed by UMG, J. Warrick had access to

customer lists and personnel files. Defendants lack knowledge or information sufficient to form a

belief about the truth of the remaining allegations in paragraph 25.

       26.     Defendants admit that on or about August 21, 2009, “J. Warrick signed a

Confidentiality, Nonsolicitation, and Reimbursement Agreement,” but Defendants deny the

remaining allegations in paragraph 26.

       27.     Defendants admit that in paragraph 27, Plaintiffs accurately reproduce a portion of

the text from Exhibit A attached to Plaintiffs’ First Amended Complaint, but Defendants deny the

remaining allegations in paragraph 27, including any express or implied meaning or interpretation

of any of the reproduced text.

       28.     Defendants admit that in paragraph 28, Plaintiffs accurately reproduce a portion of

the text from Exhibit A attached to Plaintiffs’ First Amended Complaint, but Defendants deny the

remaining allegations in paragraph 28, including any express or implied meaning or interpretation

of any of the reproduced text.

                                                           ______________________________________
                                                            DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                            Page 3
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 4 of 29 PageID 191




       29.     Defendants admit that in paragraph 29, Plaintiffs accurately reproduce a portion of

the text from Exhibit A attached to Plaintiffs’ First Amended Complaint, but Defendants deny the

remaining allegations in paragraph 29, including any express or implied meaning or interpretation

of any of the reproduced text.

       30.     Defendants admit that in paragraph 30, Plaintiffs accurately reproduce a portion of

the text from Exhibit A attached to Plaintiffs’ First Amended Complaint, but Defendants deny the

remaining allegations in paragraph 30, including any express or implied meaning or interpretation

of any of the reproduced text.

       31.     Defendants admit that in paragraph 31, Plaintiffs accurately reproduce a portion of

the text from Exhibit A attached to Plaintiffs’ First Amended Complaint, but Defendants deny the

remaining allegations in paragraph 31, including any express or implied meaning or interpretation

of any of the reproduced text.

       32.     Defendants admit that in paragraph 32, Plaintiffs accurately reproduce a portion of

the text from Exhibit A attached to Plaintiffs’ First Amended Complaint, but Defendants deny the

remaining allegations in paragraph 32, including any express or implied meaning or interpretation

of any of the reproduced text.

       33.     Defendants admit that in paragraph 33, Plaintiffs accurately reproduce – with

Plaintiffs’ own added emphasis – a portion of the text from Exhibit A attached to Plaintiffs’ First

Amended Complaint, but Defendants deny the remaining allegations in paragraph 33, including

any express or implied meaning or interpretation of any of the reproduced text.

       34.     Defendants admit that in paragraph 34, Plaintiffs accurately reproduce – with

Plaintiffs’ own added emphasis – a portion of the text from Exhibit A attached to Plaintiffs’ First




                                                          ______________________________________
                                                           DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                           Page 4
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 5 of 29 PageID 192




Amended Complaint, but Defendants deny the remaining allegations in paragraph 34, including

any express or implied meaning or interpretation of any of the reproduced text.

       35.     Defendants admit that in paragraph 35, Plaintiffs accurately reproduce a portion of

the text from Exhibit A attached to Plaintiffs’ First Amended Complaint, but Defendants deny the

remaining allegations in paragraph 35, including any express or implied meaning or interpretation

of any of the reproduced text.

       36.     Defendants admit that in paragraph 36, Plaintiffs accurately reproduce a portion of

the text from Exhibit A attached to Plaintiffs’ First Amended Complaint, but Defendants deny the

remaining allegations in paragraph 36, including any express or implied meaning or interpretation

of any of the reproduced text.

       37.     Defendants admit that in paragraph 37, Plaintiffs accurately reproduce a portion of

the text from Exhibit A attached to Plaintiffs’ First Amended Complaint, but Defendants deny the

remaining allegations in paragraph 37, including any express or implied meaning or interpretation

of any of the reproduced text.

       38.     Defendants deny the allegations in paragraph 38.

       39.     Defendants admit the allegations in paragraph 39.

       40.     Defendants admit that Exhibit B to Plaintiffs’ First Amended Complaint is a true

and correct copy of an agreement between AGR Field Services, LLC and NWElite Marketing,

LLC executed by G. Tapia on or about August 21, 2013, but Defendants deny the remaining

allegations in paragraph 40.

       41.     Defendants admit that in paragraph 41, Plaintiffs accurately reproduce a portion of

the text from Exhibit B attached to Plaintiffs’ First Amended Complaint, but Defendants deny the




                                                          ______________________________________
                                                           DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                           Page 5
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 6 of 29 PageID 193




remaining allegations in paragraph 41, including any express or implied meaning or interpretation

of any of the reproduced text.

       42.     Defendants admit that in paragraph 42, Plaintiffs accurately reproduce a portion of

the text from Exhibit B attached to Plaintiffs’ First Amended Complaint, but Defendants deny the

remaining allegations in paragraph 42, including any express or implied meaning or interpretation

of any of the reproduced text.

       43.     Defendants admit that in paragraph 43, Plaintiffs accurately reproduce a portion of

the text from Exhibit B attached to Plaintiffs’ First Amended Complaint, but Defendants deny the

remaining allegations in paragraph 43, including any express or implied meaning or interpretation

of any of the reproduced text.

       44.     Defendants admit that in paragraph 44, Plaintiffs accurately reproduce a portion of

the text from Exhibit B attached to Plaintiffs’ First Amended Complaint, but Defendants deny the

remaining allegations in paragraph 44, including any express or implied meaning or interpretation

of any of the reproduced text.

       45.     Defendants admit that in paragraph 45, Plaintiffs accurately reproduce a portion of

the text from Exhibit B attached to Plaintiffs’ First Amended Complaint, but Defendants deny the

remaining allegations in paragraph 45, including any express or implied meaning or interpretation

of any of the reproduced text.

       46.     Defendants deny the allegations in paragraph 46.

       47.     Defendants deny the allegations in paragraph 47.

       48.     Defendants deny the allegations in paragraph 48.

       49.     Defendants deny the allegations in paragraph 49.




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                                                           DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                           Page 6
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 7 of 29 PageID 194




       50.     Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in paragraph 50.

       51.     Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in paragraph 51.

       52.     Defendants deny the allegations in paragraph 52.

       53.     Defendants deny the allegations in paragraph 53.

       54.     Defendants deny the allegations in paragraph 54.

       55.     Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in paragraph 55.

       56.     Defendants deny that J. Warrick acted to “modify his amendment,” and Defendants

lack knowledge or information sufficient to form a belief about the truth of the remaining

allegations in paragraph 56.

       57.     Defendants deny the allegations in paragraph 57.

       58.     Defendants deny the allegations in paragraph 58.

       59.     Defendants admit that J. Warrick forwarded at least one email related to UMG or

AGRFS to his personal email account, but Defendants deny the remaining allegations in paragraph

59.

       60.     Defendants deny that J. Warrick “deleted these emails in an attempt to hide his

improper behavior,” and Defendants lack knowledge or information sufficient to form a belief

about the truth of the remaining allegations in paragraph 60.

       61.     Defendants admit that Excel Network, LLC was formed on September 9, 2014, but

Defendants deny the remaining allegations in paragraph 61.

       62.     Defendants deny the allegations in paragraph 62.

                                                          ______________________________________
                                                           DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                           Page 7
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 8 of 29 PageID 195




       63.     Defendants deny the allegations in paragraph 63.

       64.     Defendants admit Excel Resources LLC was formed on October 22, 2014, but

Defendants deny the remaining allegations in paragraph 64.

       65.     Defendants deny that “J. Warrick conspired with one or more UMG employees

after his departure to ensure that his computer hard drive was erased and repurposed, rather than

being retained,” and Defendants lack knowledge or information sufficient to form a belief about

the truth of the remaining allegations in paragraph 65.

       66.     Defendants deny the allegations in paragraph 66.

       67.     Defendants admit that Exhibit C to Plaintiffs’ First Amended Complaint appears to

be a printout of the public LinkedIn page for J. Warrick on October 12, 2015, but Defendants deny

the remaining allegations in paragraph 67.

       68.     Defendants deny the allegations in paragraph 68.

       69.     Defendants deny the allegations in paragraph 69.

       70.     Defendants admit that Exhibit C to Plaintiffs’ First Amended Complaint appears to

be a printout of the public LinkedIn page for J. Warrick on October 12, 2015 and Defendants admit

that Excel Network, LLC was formed in September 2014. Defendants deny the remaining

allegations in paragraph 70.

       71.     Defendants admit that J. Warrick serves as vice president of business development

of Excel Network, LLC, but Defendants deny the remaining allegations in paragraph 71.

       72.     Defendants deny the allegations in paragraph 72.

       73.     Defendants deny the allegations in paragraph 73.

       74.     Defendants deny the allegations in paragraph 74.

       75.     Defendants deny the allegations in paragraph 75.

                                                          ______________________________________
                                                           DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                           Page 8
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 9 of 29 PageID 196




       76.      Defendants deny the allegations in paragraph 76.

       77.      Defendants deny the allegations in paragraph 77.

       78.      Defendants deny the allegations in paragraph 78.

       79.      Defendants deny that Excel Networks, LLC or Excel Resources, LLC knowingly

employs any former employees of UMG other than J. Warrick or any former employees of an

AGRFS broker, but Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegation in paragraph 79 that “Excel employs at least six former employees of UMG

and two former employees of an AGRFS broker.” Defendants deny the remaining allegations in

paragraph 79.

       80.      Defendants deny that Defendants knowingly “employ or have employed several

former members of UMG’s information technology departments,” but Defendants lack knowledge

or information sufficient to form a belief about the truth of the remaining allegations in paragraph

80.

       81.      Defendants repeat, reiterate, and incorporate by reference their responsive

allegations in paragraphs 1 through 80, above, as if fully set forth herein.

       82.      Paragraph 82 calls for a legal conclusion and therefore no response is required. To

the extent that a response is required, Defendants deny.

       83.      Paragraph 83 calls for a legal conclusion and therefore no response is required. To

the extent that a response is required, Defendants deny.

       84.      Paragraph 84 calls for a legal conclusion and therefore no response is required. To

the extent that a response is required, Defendants deny.

       85.      Defendants lack knowledge or information sufficient to form a belief about the

truth of the allegations in paragraph 85.

                                                            ______________________________________
                                                             DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                             Page 9
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 10 of 29 PageID 197




        86.     Defendants deny the allegations in paragraph 86.

        87.     Defendants deny the allegations in paragraph 87.

        88.     Defendants deny the allegations in paragraph 88.

        89.     Defendants deny the allegations in paragraph 89.

        90.     Defendants deny the allegations in paragraph 90.

        91.     Defendants repeat, reiterate, and incorporate by reference their responsive

 allegations in paragraphs 1 through 80, above, as if fully set forth herein.

        92.     Paragraph 92 calls for a legal conclusion and therefore no response is required. To

 the extent that a response is required, Defendants deny.

        93.     Paragraph 93 calls for a legal conclusion and therefore no response is required. To

 the extent that a response is required, Defendants deny.

        94.     Paragraph 94 calls for a legal conclusion and therefore no response is required. To

 the extent that a response is required, Defendants deny.

        95.     Defendants lack knowledge or information sufficient to form a belief about the

 truth of the allegations in paragraph 95.

        96.     Defendants deny the allegations in paragraph 96.

        97.     Defendants deny the allegations in paragraph 97.

        98.     Defendants deny the allegations in paragraph 98.

        99.     Defendants repeat, reiterate, and incorporate by reference their responsive

 allegations in paragraphs 1 through 80, above, as if fully set forth herein.

        100.    Paragraph 100 calls for a legal conclusion and therefore no response is required. To

 the extent that a response is required, Defendants deny.




                                                             ______________________________________
                                                              DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                             Page 10
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 11 of 29 PageID 198




        101.    Paragraph 101 calls for a legal conclusion and therefore no response is required. To

 the extent that a response is required, Defendants deny.

        102.    Paragraph 102 calls for a legal conclusion and therefore no response is required. To

 the extent that a response is required, Defendants deny.

        103.    Defendants lack knowledge or information sufficient to form a belief about the

 truth of the allegations in paragraph 103.

        104.    Defendants deny the allegations in paragraph 104.

        105.    Defendants deny the allegations in paragraph 105.

        106.    Defendants deny the allegations in paragraph 106.

        107.    Defendants repeat, reiterate, and incorporate by reference their responsive

 allegations in paragraphs 1 through 80, above, as if fully set forth herein.

        108.    Paragraph 108 calls for a legal conclusion and therefore no response is required. To

 the extent that a response is required, Defendants deny.

        109.    Defendants deny the allegations in paragraph 109.

        110.    Defendants deny the allegations in paragraph 110.

        111.    Defendants deny the allegations in paragraph 111.

        112.    Defendants repeat, reiterate, and incorporate by reference their responsive

 allegations in paragraphs 1 through 80, above, as if fully set forth herein.

        113.    Paragraph 113 calls for a legal conclusion and therefore no response is required. To

 the extent that a response is required, Defendants deny.

        114.    Defendants deny the allegations in paragraph 114.

        115.    Defendants deny the allegations in paragraph 115.

        116.    Defendants deny the allegations in paragraph 116.

                                                             ______________________________________
                                                              DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                             Page 11
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 12 of 29 PageID 199




        117.    Defendants repeat, reiterate, and incorporate by reference their responsive

 allegations in paragraphs 1 through 80, above, as if fully set forth herein.

        118.    Paragraph 118 calls for a legal conclusion and therefore no response is required. To

 the extent that a response is required, Defendants deny.

        119.    Defendants deny the allegations in paragraph 119.

        120.    Defendants deny the allegations in paragraph 120.

        121.    Defendants repeat, reiterate, and incorporate by reference their responsive

 allegations in paragraphs 1 through 80, above, as if fully set forth herein.

        122.    A portion of paragraph 122 calls for a legal conclusion, and therefore, no response

 is required for that portion. Defendants admit that on or about August 21, 2009, J. Warrick signed

 a Confidentiality, Nonsolicitation, and Reimbursement Agreement, but Defendants deny the

 remaining allegations in paragraph 122.

        123.    Defendants admit that in paragraph 123, Plaintiffs accurately reproduce – with

 Plaintiffs’ own added emphasis – a portion of the text from Exhibit A attached to Plaintiffs’ First

 Amended Complaint, but Defendants deny the remaining allegations in paragraph 123, including

 any express or implied meaning or interpretation of any of the reproduced text.

        124.    Defendants deny the allegations in paragraph 124.

        125.    Defendants admit that in paragraph 125, Plaintiffs accurately reproduce a portion of

 the text from Exhibit A attached to Plaintiffs’ First Amended Complaint, but Defendants deny the

 remaining allegations in paragraph 125, including any express or implied meaning or

 interpretation of any of the reproduced text.

        126.    Defendants lack knowledge or information sufficient to form a belief about the

 truth of the allegations in paragraph 126.

                                                             ______________________________________
                                                              DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                             Page 12
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 13 of 29 PageID 200




        127.    To the extent that paragraph 127’s allegations are limited solely to the

 interpretation of a written contract, then the allegations call for a legal conclusion, and therefore,

 no response is required. To the extent that a response is required, Defendants deny. Otherwise,

 Defendants deny the allegations in paragraph 127, including any express or implied meaning or

 interpretation of any referenced text.

        128.    Defendants lack knowledge or information sufficient to form a belief about the

 truth of the allegations in paragraph 128.

        129.    To the extent that paragraph 129’s allegations are limited solely to the

 interpretation of a written contract, then the allegations call for a legal conclusion, and therefore,

 no response is required. To the extent that a response is required, Defendants deny. Otherwise,

 Defendants deny the allegations in paragraph 129, including any express or implied meaning or

 interpretation of any referenced text.

        130.    Defendants admit that in paragraph 130, Plaintiffs accurately reproduce a portion of

 the text from Exhibit A attached to Plaintiffs’ First Amended Complaint, but Defendants deny the

 remaining allegations in paragraph 130, including any express or implied meaning or

 interpretation of any of the reproduced text.

        131.    Defendants deny the allegations in paragraph 131.

        132.    Defendants admit that in paragraph 132, Plaintiffs accurately reproduce a portion of

 the text from Exhibit A attached to Plaintiffs’ First Amended Complaint, but Defendants deny the

 remaining allegations in paragraph 132, including any express or implied meaning or

 interpretation of any of the reproduced text.

        133.    Defendants deny the allegations in paragraph 133.




                                                             ______________________________________
                                                              DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                             Page 13
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 14 of 29 PageID 201




        134.    Defendants admit that in paragraph 134, Plaintiffs accurately reproduce a portion of

 the text from Exhibit A attached to Plaintiffs’ First Amended Complaint, but Defendants deny the

 remaining allegations in paragraph 134, including any express or implied meaning or

 interpretation of any of the reproduced text.

        135.    Defendants deny the allegations in paragraph 135.

        136.    Defendants deny the allegations in paragraph 136.

        137.    Defendants repeat, reiterate, and incorporate by reference their responsive

 allegations in paragraphs 1 through 80, above, as if fully set forth herein.

        138.    To the extent that paragraph 138’s allegations are limited solely to the

 interpretation of a written contract, then the allegations call for a legal conclusion, and therefore,

 no response is required. To the extent that a response is required, Defendants deny. Otherwise,

 Defendants deny the allegations in paragraph 138, including any express or implied meaning or

 interpretation of any referenced text.

        139.    To the extent that paragraph 139’s allegations are limited solely to the

 interpretation of a written contract, then the allegations call for a legal conclusion, and therefore,

 no response is required. To the extent that a response is required, Defendants deny. Otherwise,

 Defendants deny the allegations in paragraph 139, including any express or implied meaning or

 interpretation of any referenced text.

        140.    Defendants deny the allegations in paragraph 140.

        141.    To the extent that paragraph 141’s allegations are limited solely to the

 interpretation of a written contract, then the allegations call for a legal conclusion, and therefore,

 no response is required. To the extent that a response is required, Defendants deny. Otherwise,




                                                             ______________________________________
                                                              DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                             Page 14
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 15 of 29 PageID 202




 Defendants deny the allegations in paragraph 141, including any express or implied meaning or

 interpretation of any referenced text.

         142.    Defendants deny the allegations in paragraph 142.

         143.    Defendants deny the allegation in paragraph 143 that the Subcontractor Agreement

 has not been terminated. To the extent that paragraph 143’s remaining allegations are limited

 solely to the interpretation of a written contract, then the allegations call for a legal conclusion, and

 therefore, no response is required. To the extent that a response is required, Defendants deny.

 Otherwise, Defendants deny the remaining allegations in paragraph 143, including any express or

 implied meaning or interpretation of any referenced text.

         144.    Defendants deny the allegations in paragraph 144.

         145.    Defendants deny the allegation in paragraph 145 that the Subcontractor Agreement

 has not been terminated. To the extent that paragraph 145’s remaining allegations are limited

 solely to the interpretation of a written contract, then the allegations call for a legal conclusion, and

 therefore, no response is required. To the extent that a response is required, Defendants deny.

 Otherwise, Defendants deny the remaining allegations in paragraph 145, including any express or

 implied meaning or interpretation of any referenced text.

         146.    Defendants deny the allegations in paragraph 146.

         147.    Defendants deny the allegations in paragraph 147.

         148.    Defendants repeat, reiterate, and incorporate by reference their responsive

 allegations in paragraphs 1 through 80, above, as if fully set forth herein.

         149.    A portion of paragraph 149 calls for a legal conclusion, and therefore, no response

 is required for that portion. To the extent that a response is required, Defendants deny. Defendants




                                                               ______________________________________
                                                                DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                               Page 15
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 16 of 29 PageID 203




 lack knowledge or information sufficient to form a belief about the truth of the remaining

 allegations in paragraph 149.

        150.    Paragraph 150 calls for a legal conclusion and therefore no response is required. To

 the extent that a response is required, Defendants deny.

        151.    Paragraph 151 calls for a legal conclusion and therefore no response is required. To

 the extent that a response is required, Defendants deny.

        152.    Defendants deny the allegations in paragraph 152.

        153.    To the extent that paragraph 153’s allegations are limited solely to the scope of

 fiduciary duties and duties of loyalty in general, then paragraph 153 calls for a legal conclusion and

 therefore no response is required. To the extent that a response is required, Defendants deny.

 Otherwise, Defendants deny the allegations in paragraph 153.

        154.    Defendants deny the allegations in paragraph 154.

        155.    Defendants deny the allegations in paragraph 155.

        156.    Defendants repeat, reiterate, and incorporate by reference their responsive

 allegations in paragraphs 1 through 80, above, as if fully set forth herein.

        157.    Defendants deny the allegations in paragraph 157.

        158.    Defendants deny the allegations in paragraph 158.

        159.    Defendants deny the allegations in paragraph 159.

        160.    Defendants deny the allegations in paragraph 160.

        161.    Defendants deny the allegations in paragraph 161.

        162.    Defendants repeat, reiterate, and incorporate by reference their responsive

 allegations in paragraphs 1 through 80, above, as if fully set forth herein.

        163.    Defendants deny the allegations in paragraph 163.

                                                             ______________________________________
                                                              DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                             Page 16
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 17 of 29 PageID 204




        164.    Defendants deny the allegations in paragraph 164.

        165.    Defendants deny the allegations in paragraph 165.

        166.    Defendants deny the allegations in paragraph 166.

        167.    Defendants deny the allegations in paragraph 167.

        168.    Defendants deny the allegations in paragraph 168.

        169.    Defendants deny the allegations in paragraph 169.

        170.    Defendants repeat, reiterate, and incorporate by reference their responsive

 allegations in paragraphs 1 through 80, above, as if fully set forth herein.

        171.    A portion of paragraph 171 calls for a legal conclusion, and therefore, no response

 is required for that portion. To the extent that a response is required, Defendants deny. Defendants

 deny the remaining allegations in paragraph 171.

        172.    Defendants deny the allegations in paragraph 172.

        173.    Defendants deny the allegations in paragraph 173.

        174.    Paragraph 174 calls for a legal conclusion and therefore no response is required. To

 the extent that a response is required, Defendants deny.

        175.    Defendants repeat, reiterate, and incorporate by reference their responsive

 allegations in paragraphs 1 through 80, above, as if fully set forth herein.

        176.    Defendants deny the allegations in paragraph 176.

        177.    Defendants deny the allegations in paragraph 177.

        178.    Defendants deny the allegations in paragraph 178.

        179.    Defendants repeat, reiterate, and incorporate by reference their responsive

 allegations in paragraphs 1 through 80, above, as if fully set forth herein.

        180.    Defendants deny the allegations in paragraph 180.

                                                             ______________________________________
                                                              DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                             Page 17
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 18 of 29 PageID 205




        181.    Defendants deny the allegations in paragraph 181.

        182.    Defendants deny the allegations in paragraph 182.

        183.    Defendants deny the allegations in paragraph 183.

        184.    A portion of paragraph 184 calls for a legal conclusion, and therefore, no response

 is required for that portion. To the extent that a response is required, Defendants deny. Defendants

 deny the remaining allegations in paragraph 184.

        185.    Defendants deny the allegations in paragraph 185.

        186.    Defendants deny the allegations in paragraph 186.

        187.    Paragraph 187 calls for a legal conclusion and therefore no response is required. To

 the extent that a response is required, Defendants deny.

                                     B. Affirmative Defenses

        188.    Defendants are not liable to Plaintiffs because Plaintiffs have failed to state a claim

 for which relief may be granted.

        189.    Defendants are not liable to Plaintiffs because of waiver. Plaintiffs intentionally

 relinquished the known rights asserted in this case. Plaintiffs expressly waived their known rights

 and indicated their waiver by conduct and express statements that are inconsistent with an intent by

 Plaintiffs to pursue the known rights asserted in this case.

        190.    Defendants are not liable to Plaintiffs because of estoppel. Defendant J. Warrick

 expressly notified Plaintiffs of his intention to resign and to join Excel Network, LLC for the

 purpose of creating a call center to provide retail sales services to energy companies in deregulated

 markets. Plaintiffs told Defendant J. Warrick that they had no objection to J. Warrick’s intended

 actions. Thus, Plaintiffs cannot prevail against Defendants on the basis of estoppel.




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                                                                 DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                                Page 18
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 19 of 29 PageID 206




        191.    Defendants are not liable to Plaintiffs because of the fair use defense. The alleged

 use of any Plaintiff’s marks was to describe that Plaintiff’s goods or products, not the goods or

 products of any Defendant. Plaintiffs’ products or services were not readily identifiable without

 the use of Plaintiffs’ marks. The alleged use of any Plaintiff’s marks was limited to the level of use

 reasonably necessary to identify that Plaintiff’s goods and services. Defendants did not suggest

 sponsorship or endorsement by any Plaintiff during the alleged use of that Plaintiff’s marks.

        192.    Defendants are not liable to Plaintiffs because of Plaintiffs’ abandonment.

 Plaintiffs failed to police the widespread use of the marks at issue in this case, particularly use

 almost identical to the alleged conduct underlying Plaintiffs’ claims in this case. By failing to

 police the widespread use of their marks – such as, for example, failing to prevent current and

 former employees from using Plaintiffs’ names in their LinkedIn profiles – Plaintiffs marks have

 lost trade significance.

        193.    Defendants are not liable to Plaintiffs because of unclean hands. Plaintiffs have for

 several years created a hostile work environment for employees who are not members of the

 Church of Scientology or who do not subscribe to the Church of Scientology’s beliefs. The hostile

 work environment includes repeated attempts to convert employees to the Church of Scientology

 and promoting members of the Church of Scientology over more qualified employees. This hostile

 work environment directly caused Defendant J. Warrick to terminate his employment. Plaintiffs’

 causes of action arise from the termination of Defendant J. Warrick’s employment, and thus,

 Plaintiffs cannot prevail due to their unclean hands.

        194.    Defendants are not liable to Plaintiffs because of contributory negligence. Plaintiffs

 did not use reasonable care their information technology systems from accidental, inadvertent, or

 negligent data loss. Plaintiffs did not use reasonable care in establishing and enforcing information

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                                                              DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                             Page 19
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 20 of 29 PageID 207




 technology access requirements. Plaintiffs did not use reasonable care in establishing and

 implementing data security and loss prevention protocols, such as intrusion detection and

 automated backups.

        195.      Defendants are not liable to Plaintiffs for breach of contract or any related claims

 asserted because of Plaintiffs’ prior breach of the contracts at issue.

        196.      Defendants are not liable to Plaintiffs for breach of contract or any related claims

 asserted because of duress.

        197.      Defendants are not liable to Plaintiffs for any direct or related claims arising from

 an alleged non-competition covenant. The alleged non-competition covenants at issue in this case

 are not enforceable as a matter of law.

        198.      Defendants are not liable to Plaintiffs for any direct or related claims arising from

 any alleged trade secrets because Plaintiffs cannot establish that the information at issue is

 considered a trade secret or a legitimate business interest under Florida law.

        199.      Defendants are not liable to Plaintiffs for any direct or related claims arising from

 any alleged trade secrets because Plaintiffs cannot establish that all necessary steps were taken to

 ensure the secrecy of the supposed trade secrets.

        200.      Defendants are not liable to Plaintiffs for any alleged conspiracy to the extent that

 Plaintiffs allege a conspiracy between an entity and its members or owners. No such conspiracy

 claim can be stated, as a conspiracy between an entity and its members or owners cannot exist as a

 matter of law.

        201.      Defendants are not liable to Plaintiffs under the Florida Unfair and Deceptive

 Business Practices Act because Plaintiffs cannot demonstrate that they have sustained actual

 damages.

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                                                               DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                              Page 20
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 21 of 29 PageID 208




        202.    Defendants are not liable to Plaintiffs for tortious interference because Plaintiffs

 cannot demonstrate a viable contract with a third party, that Defendants were aware of such a

 contract, and that Defendants interfered with the third party contract.

        203.    Defendants are not liable to Plaintiffs because Plaintiffs failed to mitigate any

 damages allegedly sustained.

        204.    Defendants are not liable to Plaintiffs for any breach of contract or related claims

 unless Defendants were actually parties to the underlying contract alleged by Plaintiffs.

        205.    Defendants assert the statute of frauds against any breach of contract or related

 claim that is based on an underlying alleged agreement that is not written and signed by the party

 against whom Plaintiffs assert their claims.

        206.    Defendants are not liable to Plaintiffs for any claims arising out of the alleged

 conduct of J. Warrick because of Plaintiffs’ ratification. J. Warrick and Plaintiff UMG terminated

 any and all written agreements governing the employment of J. Warrick on or about May 30, 2014.

 At the time of such termination, J. Warrick was an employee of Plaintiff AGRFS and after such

 termination, J. Warrick remained an employee of Plaintiff AGRFS without a governing

 employment agreement. Through its actions, UMG ratified the termination of the employment

 relationship between UMG and J. Warrick.

        207.    To the extent that certain non-parties were at fault in causing or contributing to the

 incident and damages described in Plaintiffs’ First Amended Complaint, Defendants are entitled to

 an apportionment of fault and limitation of damages pursuant to Fla. Stat. § 768.81 and Fabre v.

 Martin. At this time, Defendants name the following as Fabre Defendants and reserve the right to

 add additional Fabre Defendants as discovery continues: Matt Judkin and Herb Zerden.




                                                            ______________________________________
                                                             DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                            Page 21
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 22 of 29 PageID 209




        208.    Defendants are not liable to Plaintiffs due to Plaintiffs’ failure to satisfy all

 conditions precedent to relief.

                                   C. Counterclaims – Facts

        209.    Under Section 2 of the AGR Field Services Subcontract Agreement (the

 “Subcontract Agreement”) attached as Exhibit B to Plaintiffs’ First Amended Complaint, the

 Subcontract Agreement could be terminated by AGR Field Services, LLC “upon ten (10) days’

 written notice or as otherwise provided herein.”

        210.    Under Section 11(a) of the Subcontract Agreement, the Subcontract Agreement

 could be terminated by “mutual written consent of the parties hereto.”

        211.    Under Section 11(b) of the Subcontract Agreement, the Subcontract Agreement

 could be terminated upon “completion of the work under all existing Contracts covered by an

 Addendum.”

        212.    Under Section 11(c) of the Subcontract Agreement, the Subcontract Agreement

 could be terminated upon “termination of existing Contracts for any reason covered by an

 Addendum.”

        213.    On October 14, 2013, Abigail Reynolds of AGR Field Services, LLC sent an email

 to Defendant NWElite Marketing, LLC by and through Defendant G. Tapia stating in relevant part

 “that as of October 7, 2013, the NWElite Marketing DPLER contract is null and void (for now).

 Please confirm.” On the same day, Defendant G. Tapia, acting on behalf of Defendant NWElite

 Marketing, LLC, responded by email stating “That is correct Abigail.” A copy of the email string

 between Defendant G. Tapia of NWElite Marketing, LLC and Abigail Reynolds of AGR Field

 Services, LLC is attached hereto as Exhibit 1 and incorporated by reference herein.




                                                           ______________________________________
                                                            DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                           Page 22
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 23 of 29 PageID 210




        214.   In Plaintiffs’ First Amended Complaint, Plaintiffs allege that the Subcontract

 Agreement remains in force.

        215.   Defendant J. Warrick had already been employed by Plaintiff UMG for more than

 five years when UMG asked J. Warrick to sign the Confidentiality, Nonsolicitation and

 Reimbursement Agreement (the “Non-Compete Agreement”) attached as Exhibit A to Plaintiffs’

 First Amended Complaint.

        216.   J. Warrick initially refused to sign the Non-Compete Agreement as its terms and

 conditions had not previously been made a condition of J. Warrick’s continued employment with

 UMG.

        217.   In response to J. Warrick’s initial refusal to sign the Non-Compete Agreement,

 UMG escalated its initial request to a demand. UMG told J. Warrick that if he did not sign the

 Non-Compete Agreement, UMG might lower J. Warrick’s pay or worse.

        218.   J. Warrick continued to balk at signing the Non-Compete Agreement. On or about

 August 2009, UMG’s principal and owner Herb Zerden physically cornered J. Warrick in J.

 Warrick’s office and coerced J. Warrick into signing the Non-Compete Agreement.

        219.   By 2014, J. Warrick’s employment responsibilities had shifted entirely to the entity

 AGR Field Services, LLC. AGR Field Services, LLC demanded that J. Warrick sign a new

 agreement containing even more burdensome non-competition covenants. AGR Field Services,

 LLC threatened to fire J. Warrick unless he signed the new non-competition agreement. This time

 J. Warrick stood his ground and refused to execute the new proposed agreement.

        220.   In light of AGR Field Services, LLC’s demand, J. Warrick was reminded of the

 original Non-Compete Agreement between UMG and J. Warrick. By 2014, J. Warrick had not had

 any involvement with UMG for more than two years and was exclusively employed by AGR Field

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                                                           DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                          Page 23
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 24 of 29 PageID 211




 Services, LLC. For this reason, J. Warrick asked UMG’s President Steve Upham to ensure that the

 prior Non-Compete Agreement be officially terminated, since the non-competition covenant in the

 Non-Compete Agreement only lasted two years. Upham agreed to document the termination of the

 Non-Compete Agreement in light of the fact that by 2014, J. Warrick had not been working for

 UMG for more than two years.

         221.      On or about May 30, 2014, J. Warrick and UMG – by and through Upham –

 executed the First Amendment to Utilities Marketing Group Inc. Confidentiality, Nonsolicitation

 and Reimbursement Agreement (the “First Amendment”), attached hereto as Exhibit 2 and

 incorporated by reference herein.

         222.      The First Amendment states that the “entire agreement and all terms and

 conditions” of the Non-Compete Agreement are “hereby cancelled as of May 30th 2014 and shall

 have no enforceability on or after this date.” (Exh. 2, p. 1.)

         223.      The First Amendment further states that neither “party has any further obligation to

 the other party and all components, agreements, intents and clauses that were originally intended

 to be considered enforceable are now no longer enforceable per this amendment as authorized by

 Steve Upham in accordance with section XII(12) on or after the effective date of May 30, 2014.”

 (Exh. 2, p. 1.)

         224.      In Plaintiffs’ First Amended Complaint, Plaintiffs allege that the Non-Compete

 Agreement remains in force and that J. Warrick’s conduct after May 30, 2014 has breached the

 Non-Compete Agreement.

       D. Counterclaims – Count 1 – Declaratory Judgment (Subcontract Agreement)

         225.      Defendants incorporate by reference the factual allegations contained in paragraphs

 209 – 224, above.

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                                                               DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                              Page 24
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 25 of 29 PageID 212




        226.    Defendants NWElite Marketing, LLC, G. Tapia, and A. Tapia seek a declaratory

 judgment under the Federal Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

        227.    An actual controversy exists between and among Plaintiff AGR Field Services,

 LLC and Defendants NWElite Marketing, LLC, G. Tapia, and A. Tapia concerning their rights and

 legal relations arising from the Subcontract Agreement.

        228.    Plaintiff AGR Field Services, LLC has asserted that Defendants G. Tapia and A.

 Tapia are parties to the Subcontract Agreement in their individual capacities. Plaintiff AGR Field

 Services, LLC has further asserted that the Subcontract Agreement remains in force and continues

 to bind NWElite Marketing, LLC, G. Tapia, and A. Tapia.

        229.    To the contrary, the clear and unambiguous language of the Subcontract Agreement

 states that only Plaintiff AGR Field Services, LLC and Defendant NWElite Marketing, LLC are

 parties to the Subcontract Agreement. Defendants G. Tapia and A. Tapia are not parties to the

 Subcontract Agreement in their individual capacity. Neither G. Tapia nor A. Tapia executed the

 Subcontract Agreement in an individual capacity.

        230.    Further, on October 14, 2013, Abigail Reynolds on behalf of Plaintiff AGR Field

 Services, LLC and G. Tapia on behalf of Defendant NWElite Marketing, LLC terminated the

 Subcontract Agreement under Section 11(a) of the Subcontract Agreement. Alternatively, Plaintiff

 AGR Field Services, LLC terminated the Subcontract Agreement under Section 2 of the

 Subcontract Agreement. In the further alternative, the Subcontract Agreement has been terminated

 under Section 11(b) of the Subcontract Agreement because NWElite Marketing, LLC has

 performed all work required under “existing Contracts covered by an Addendum.” In the further

 alternative, the Subcontract Agreement has been terminated under Section 11(c) of the




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                                                            DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                           Page 25
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 26 of 29 PageID 213




 Subcontract Agreement because all “existing Contracts … covered by an Addendum” have been

 terminated.

        231.    Defendants NWElite Marketing, LLC, G. Tapia, and A. Tapia therefore seek the

 following declarations from the Court:

                a.     That Defendants G. Tapia and A. Tapia are not now and have never been

                parties to the Subcontract Agreement in their individual capacities;

                b.     That Defendants G. Tapia and A. Tapia are not bound by any of the terms

                and conditions of the Subcontract Agreement in their individual capacities; and

                c.     That the Subcontract Agreement has been validly terminated and no longer

                imposes any obligations or duties on Defendants NWElite Marketing, LLC, G.

                Tapia, or A. Tapia.

        232.    Under 28 U.S.C. § 2202, Defendants NWElite Marketing, LLC, G. Tapia, and A.

 Tapia further ask the Court to award them attorney’s fees and costs, to issue a permanent

 injunction to give effect to the Court’s declaratory judgments, and to grant any further necessary

 and proper relief based on the Court’s declaratory judgments.

      E. Counterclaims – Count 2 – Declaratory Judgment (Non-Compete Agreement)

        233.    Defendants incorporate by reference the factual allegations contained in paragraphs

 209 – 224, above.

        234.    Defendant J. Warrick seeks a declaratory judgment under the Federal Declaratory

 Judgment Act, 28 U.S.C. §§ 2201 and 2202.

        235.    An actual controversy exists between and among Plaintiff Utilities Marketing

 Group, LLC and Defendant J. Warrick concerning their rights and legal relations arising from the

 Non-Compete Agreement.

                                                           ______________________________________
                                                            DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                           Page 26
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 27 of 29 PageID 214




        236.    Plaintiff Utilities Marketing Group, LLC has asserted that the Non-Compete

 Agreement as it was originally executed remains in full force and effect and continues to bind

 Defendant J. Warrick.

        237.    To the contrary, Plaintiff Utilities Marketing Group, LLC and Defendant J.

 Warrick cancelled the Non-Compete Agreement through the First Amendment, effective as of

 May 30, 2014. Through the First Amendment, Plaintiff Utilities Marketing Group, LLC and

 Defendant J. Warrick confirmed that neither “party has any further obligation to the other party

 and all components, agreements, intents and clauses that were originally intended to be considered

 enforceable are now no longer enforceable per” the First Amendment. (Exh. 2, p. 1.)

        238.    Defendant J. Warrick, therefore, seeks the following declarations from the Court:

                a.       That the Non-Compete Agreement was validly cancelled and terminated

                effective May 30, 2014; and

                b.       That Defendant J. Warrick ceased to be bound by any obligations, duties,

                terms, or conditions from the Non-Compete Agreement on May 30, 2014.

        239.    Under 28 U.S.C. § 2202, Defendant J. Warrick further asks the Court to award him

 attorney’s fees and costs, to issue a permanent injunction to give effect to the Court’s declaratory

 judgments, and to grant any further necessary and proper relief based on the Court’s declaratory

 judgments.

                                        F. Prayer for Relief

        240.    For these reasons, Defendants James Warrick, Angela Warrick, George Tapia,

 Amanda Tapia, Excel Network, LLC, Excel Resources, LLC, and NWElite Marketing, LLC ask

 the Court to do the following:

                a.       Render judgment that Plaintiffs take nothing;

                                                            ______________________________________
                                                             DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                            Page 27
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 28 of 29 PageID 215




             b.      Render judgment that Plaintiffs are not entitled to any equitable relief they

             seek;

             c.      Dismiss Plaintiffs’ suit with prejudice;

             d.      Assess costs against Plaintiffs;

             e.      Render judgment in favor of Defendants for the declaratory relief

             Defendants seek, as alleged above;

             f.      Render judgment issuing permanent injunctive relief and any further

             necessary and proper relief based on the Court’s declaratory judgments;

             g.      Award Defendants attorney’s fees and costs;

             h.      Award Defendants pre-judgment and post-judgment interest at the

             maximum rate permitted by law; and

             i.      Award Defendants all other relief, in law and in equity, to which

             Defendants may be entitled or the Court deems appropriate.

 Date: November 17, 2015.                   EWUSIAK LAW, P.A.

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                                            Counsel for Defendants
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                                                          DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                         Page 28
Case 8:15-cv-01966-RAL-TBM Document 30 Filed 11/17/15 Page 29 of 29 PageID 216




                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that, on November 17, 2015, the foregoing document was filed

 using the CM/ECF system, which will send notice of electronic filing to all counsel of record.

                                              /s/ Joel Ewusiak
                                              Joel Ewusiak




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                                                            DEFENDANTS’ ANSWER AND COUNTERCLAIMS
                                                                                           Page 29
